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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
                      Plaintiff,                  )
                                                  )
                 v.                               )          No. S3-4:06 CR 33 ERW
                                                  )                            DDN
ANNETTE MARIE CANANIA,                            )
GERALD ROBINSON,                                  )
RONALD HARTGE,                                    )
JULIA FRIEND, and                                 )
LEE WESTFALL,                                     )
                                                  )
                      Defendants.                 )


                             SECOND REPORT AND RECOMMENDATION
                            OF UNITED STATES MAGISTRATE JUDGE

        This action is before the Court upon the pretrial motions of
defendant Annette Marie Canania which were referred to the undersigned
United States Magistrate Judge pursuant to 28 U.S.C. § 636(b).                             An
evidentiary hearing was held on August 29, 2006.
        Defendant     Canania     has     moved       to   sever   defendants   (Doc.   184).
Remaining for trial are movant and co-defendant Gerald Robinson. 1                          In
the third superseding indictment, Robinson and Canania are jointly
charged in Count 1 with conspiracy, between January 2003 to April 7,
2006, to unlawfully possess pseudoephedrine; both are charged in Counts
2 and 3 with the unlawful possession of pseudoephedrine on December 18,
2003, and February 26, 2004, respectively; both are charged in Count 5
with possession of a firearm in furtherance of Counts 1 and 2; Robinson
alone       is    charged    in   Count    7      with     the     unlawful   possession   of
pseudoephedrine on February 13, 2006; and both are charged in Count 9
with tampering with a witness to Counts 1, 7, and 8.
        In support of her motion to sever, defendant Canania argues that
the government's evidence as to Count 9 is a statement made by co-
defendant Robinson.            She argues that this statement is inadmissible


        1
      On April 6, 2006, defendant Ronald Hartge pled guilty. Doc. 71.
On August 10, 2006, defendants Julia Friend and Lee Westfall pled
guilty. Docs. 171, 174.
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against her and would not be admitted into evidence in a separate trial.
Further, she argues that, if Robinson's statement is admitted against
her, she will be deprived of her right to confront this evidence if he
does not testify at a joint trial.
      The motion to sever should be denied.        If the suggested evidence,
Robinson's statement, is admissible only against him, the court can
protect Canania's rights by a cautionary instruction or by redacting any
mention of her.      If the statement is admissible against her, e.g., as
a   statement   of   a   co-conspirator   under   Federal    Rule   of   Evidence
801(d)(2)(E), and if it is non-testimonial in nature (e.g., given in
response to police questioning, see Crawford v. Washington, 541 U.S. 36,
53 n.4 (2004)), and supported by a "firmly rooted" exception to the
hearsay rule, Ohio v. Roberts, 448 U.S. 56, 66 (1980), such as are
statements of co-conspirators, Bourjaily v. United States, 483 U.S. 171
(1987), its admission against defendant Canania does not violate the
Confrontation Clause.      Crawford, 541 U.S. at 68 .
      Whereupon,
      IT IS HEREBY RECOMMENDED that the motion of defendant Canania to
sever defendants (Doc. 184) be denied.
      The parties are advised they have until September 11, 2006, 2 to
file written objections to this Report and Recommendation.           The failure
to file objections may result in a waiver of the right to appeal issues
of fact.




                                     DAVID D. NOCE
                                     UNITED STATES MAGISTRATE JUDGE


Signed on August 30, 2006.




      2
      This is 11 calendar days from August 30, 2006.           See Federal Rule
of Criminal Procedure 45(a)(2).

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